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                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 20-17476-EPK
Royalty Investments and Finance, LLC.                                                                                  Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-9                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 13, 2023                                               Form ID: trc                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 15, 2023:
Recip ID                 Recipient Name and Address
95837034               + Renate Lemke, c/o CALAS Group, LLC, 20000 E Country Club Dr #108N, Aventura, FL 33180-3004

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 15, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 12, 2023 at the address(es) listed
below:
Name                               Email Address
Alvin S. Goldstein, Esq
                                   on behalf of Plaintiff Robert C. Furr Chapter 7 Trustee agoldstein@furrcohen.com,
                                   atty_furrcohen@bluestylus.com;ltitus@furrcohen.com;staff1@furrcohen.com;goldsteinar84158@notify.bestcase.com

Alvin S. Goldstein, Esq
                                   on behalf of Trustee Robert C Furr agoldstein@furrcohen.com
                                   atty_furrcohen@bluestylus.com;ltitus@furrcohen.com;staff1@furrcohen.com;goldsteinar84158@notify.bestcase.com

Andres Montejo, Esq.
                                   on behalf of Debtor Royalty Investments and Finance LLC. amontejo@andresmontejolaw.com,
                                   bkmontejo@gmail.com;tami@andresmontejolaw.com;amontejoflorida@jubileebk.net;R51007@notify.bestcase.com

Daniel N Gonzalez, Esq
                                   on behalf of Creditor Rodolfo Hernandez dgonzalez@melandbudwick.com
                                   ltannenbaum@melandbudwick.com;mrbnefs@yahoo.com;gonzalez@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phorn
                                   ia@ecf.courtdrive.com
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District/off: 113C-9                                          User: admin                                                        Page 2 of 2
Date Rcvd: Oct 13, 2023                                       Form ID: trc                                                      Total Noticed: 1
James Schwitalla, Esq
                            on behalf of Defendant Caribbean & Latin American Group LLC d/b/a Calas Group jwscmecf@bellsouth.net,
                            miamibkcmyecf@gmail.com;schwitallajr74031@notify.bestcase.com

James Schwitalla, Esq
                            on behalf of Defendant Brian A. George jwscmecf@bellsouth.net
                            miamibkcmyecf@gmail.com;schwitallajr74031@notify.bestcase.com

James Schwitalla, Esq
                            on behalf of Creditor Brian George jwscmecf@bellsouth.net
                            miamibkcmyecf@gmail.com;schwitallajr74031@notify.bestcase.com

Jason S Rigoli, Esq.
                            on behalf of Plaintiff Robert C. Furr Chapter 7 Trustee jrigoli@furrcohen.com,
                            yfernandez@furrcohen.com;staff1@furrcohen.com

Lara R Fernandez
                            on behalf of Creditor Synovus Bank lrfernandez@trenam.com
                            mmosbach@trenam.com;mwoods@trenam.com;tyatsco@trenam.com

Office of the US Trustee
                            USTPRegion21.MM.ECF@usdoj.gov

Robert C Furr
                            trustee@furrtrustee.com rcf@trustesolutions.net


TOTAL: 11
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2100 B (12/15)


                                        United States Bankruptcy Court
                                                   Southern District of Florida
                                                    Case No. 20-17476-EPK
                                                          Chapter 7

In re: Debtor(s) (including Name and Address)

Royalty Investments and Finance, LLC.
4445 Clemens Street
Lake Worth FL 33461



                      NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

The Claim No(s). listed below was/were filed or deemed filed under 11 U.S.C. § 1111(a) in this case
by the alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of
Claim Other than for Security in the clerk’s office of this court on 10/12/2023.



Name and Address of Alleged Transferor(s):                                         Name and Address of Transferee:
Claim No. 11: Renate Lemke, c/o CALAS Group, LLC, 20000 E Country Club Dr #108N,   Dilks & Knopik, LLC
Aventura, FL 33180                                                                 35308 SE Center Street
                                                                                   Snoqualmie, WA 98065




                                        -- DEADLINE TO OBJECT TO TRANSFER --
The alleged transferor(s) of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
cour t, the transferee will be substituted as the original claimant without further order of the court.


Date:    10/15/23                                            Joe Falzone
                                                             CLERK OF THE COURT
